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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 ERIN MONTGOMERY and FRED                           Civil Action No. 3:15-cv-01840-FLW-DEA
 MONTGOMERY,
                                                           Document Electronically Filed
         Plaintiffs,

    v.
                                                     DEFENDANTS RIDER UNIVERSITY,
 RIDER UNIVERSITY, et al.,                             ILYNDOVE HEALY, BARBARA
                                                      JACOBS, KARIN KLIM, ANDREA
         Defendants.                                 JARVIS, LIZA CALISESI MAIDENS,
                                                    JONATHAN MEER, ROBERT STOTO,
                                                   AND DONNA DISBROW’S ANSWER TO
                                                   THE FIRST AMENDED CIVIL ACTION
                                                           COMPLAINT WITH
                                                         AFFIRMATIVE DEFENSES


         Defendants Rider University, Ilyndove Healy, Barbara Jacobs, Karin Klim (improperly

 pled as “Karen Seidel-Klim”), Andrea Jarvis (improperly pled as “Andrea Neale”), Liza Calisesi

 Maidens (improperly pled as “Liza Calisesi”), Jonathan Meer, Robert Stoto, and Donna Disbrow

 (hereinafter collectively “Answering Defendants”), by and through their undersigned attorneys,

 Gibbons P.C., answer Plaintiffs’ First Amended Civil Action Complaint as follows:
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 I.     Jurisdiction and Venue

        1.     The allegations contained in paragraph 1 of the Complaint constitute conclusions

 of law which the Answering Defendants neither admit nor deny.

        2.     The allegations contained in paragraph 2 of the Complaint constitute conclusions

 of law which the Answering Defendants neither admit nor deny.

        3.     The allegations contained in paragraph 3 of the Complaint constitute conclusions

 of law which the Answering Defendants neither admit nor deny.

 II.    Parties

        4.     Upon information and belief, the Answering Defendants admit that Plaintiffs are

 married adults residing at 19735 Clubhouse Drive, 2-230, Parker, CO 80318.

        5.     Answering Defendants admit that Ilyndove Healy (hereinafter “Healy”) is a

 former employee of Rider University, and was, for a period of time, Plaintiff Erin Montgomery’s

 direct supervisor.   The remaining allegations contained in paragraph 5 of the Complaint

 constitute conclusions of law which the Answering Defendants neither admit nor deny.

        6.     Answering Defendants admit that Barbara Jacobs (hereinafter “Jacobs”) is an

 employee of Rider University, and was, for a period of time, Plaintiff Erin Montgomery’s direct

 supervisor. The remaining allegations contained in paragraph 6 of the Complaint constitute

 conclusions of law which the Answering Defendants neither admit nor deny.

        7.     Answering Defendants admit that Karin Klim (hereinafter “Klim”) is an employee

 of Rider University. Klim is employed as the Assistant Vice President for Development, the

 department in which Erin Montgomery worked, but was never Erin Montgomery’s direct

 supervisor. The remaining allegations contained in paragraph 7 of the Complaint constitute

 conclusions of law which the Answering Defendants neither admit nor deny.
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         8.    Answering Defendants admit that Andrea Neale Jarvis (hereinafter “Jarvis”) is an

 employee of Rider University. While Jarvis was a part of the group that Montgomery supported,

 Jarvis was never Erin Montgomery’s direct supervisor. The remaining allegations contained in

 paragraph 8 of the Complaint constitute conclusions of law which the Answering Defendants

 neither admit nor deny.

         9.    Answering Defendants admit that Liza Calisesi Maidens (hereinafter “Maidens”)

 is an employee of Rider University.     While Maidens was a part of the group that Erin

 Montgomery supported, Maidens was never Erin Montgomery’s direct supervisor.              The

 remaining allegations contained in paragraph 9 of the Complaint constitute conclusions of law

 which the Answering Defendants neither admit nor deny.

         10.   Answering Defendants admit that Jonathan Meer (hereinafter “Meer”) is an

 employee of Rider University. While Meer is employed as the Vice President, University

 Advancement, which the Development office is a part of, he was never Erin Montgomery’s

 direct supervisor.   The remaining allegations contained in paragraph 10 of the Complaint

 constitute conclusions of law which the Answering Defendants neither admit nor deny.

         11.   Answering Defendants admit that Robert Stoto (hereinafter “Stoto”) is an

 employee of Rider University. The remaining allegations contained in paragraph 11 of the

 Complaint constitute conclusions of law which the Answering Defendants neither admit nor

 deny.

         12.   Answering Defendants admit that Donna Disbrow (hereinafter “Disbrow”) is an

 employee of Rider University. The remaining allegations contained in paragraph 12 of the

 Complaint constitute conclusions of law which the Answering Defendants neither admit nor

 deny.
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        13.     Upon information and belief, the Answering Defendants admit that Defendant

 Rugg is an individual doing business with AFSCME.

        14.     Upon information and belief, the Answering Defendants admit that Defendant

 McLaughlin is an individual doing business with AFSCME.

        15.     The allegations contained in paragraph 15 of the Complaint are vague and

 ambiguous.

 III.   Operative Facts

        16.     Except for Maidens and Jarvis, who lack knowledge or information sufficient to

 admit or deny the allegations contained in paragraph 16, the Answering Defendants admit the

 allegations contained in paragraph 16 of the Complaint.

        17.     Except for Maidens and Jarvis, who lack knowledge or information sufficient to

 admit or deny the allegations contained in paragraph 17, the Answering Defendants admit the

 allegations contained in paragraph 17 of the Complaint.

        18.     Defendant Healy denies the allegations contained in paragraph 18 of the

 Complaint as stated, except to state that she gave Plaintiff Erin Montgomery contact information

 for her own doctor. The remaining Answering Defendants lack knowledge or information

 sufficient to admit or deny the allegations contained in paragraph 18.

        19.     Answering Defendants lack knowledge or information sufficient to admit or deny

 that Erin Montgomery was diagnosed with ADHD in May 2012, but deny that Dr. Szteinbaum

 informed them of any diagnosis.

        20.     Answering Defendants deny the allegations contained in paragraph 20 of the

 Complaint as stated.
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           21.   Except to admit that Jacobs completed Erin Montgomery’s annual review in 2013,

 Defendants state that the annual review referenced in paragraph 21 of the Complaint is a

 document, the content of which speaks for itself.

           22.   Answering Defendants admit the allegations contained in paragraph 22 of the

 Complaint.

           23.   Answering Defendants lack specific knowledge regarding what Erin Montgomery

 learned about but deny the remaining allegations contained in paragraph 23 of the Complaint as

 stated.

           24.   Defendant Healy denies the allegations contained in paragraph 24 of the

 Complaint. The remaining Answering Defendants lack knowledge or information sufficient to

 admit or deny the allegations contained in paragraph 24.

           25.   Except to admit that Erin Montgomery began supporting the Annual Giving team,

 Defendants Maidens and Jarvis lack knowledge or information sufficient to admit or deny the

 allegations contained in paragraph 25 of the Complaint. Except to state that Erin Montgomery

 began supporting the Annual Giving team, the remaining Answering Defendants deny the

 allegations contained in paragraph 25 of the Complaint.

           26.   Answering Defendants deny the allegations contained in paragraph 26 of the

 Complaint.

           27.   Defendants Rider, Meer, Stoto, and Disbrow admit that Erin Montgomery sent an

 email dated February 19, 2014 to Meer, the content of which speaks for itself. Answering

 Defendants otherwise deny the allegations contained in the first two sentences of paragraph 27 of

 the Complaint to the extent “complained” implies any formal complaint to which there was any
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 obligation to respond.      Answering Defendants deny the allegations contained in the third

 sentence of paragraph 27.

        28.     Answering Defendants deny the allegations contained in the first sentence of

 paragraph 28 of the Complaint. Rider’s records reflect that Goehrig is currently 30 years old and

 has no record of a disability.

        29.     Answering Defendants deny the allegations contained in the first sentence of

 paragraph 29 of the Complaint. Defendant Healy denies the allegations contained in the second

 sentence of paragraph 29 as stated.

        30.     Defendant Healy admits that she required Erin Montgomery to remain in her

 existing workspace, but states that she arranged for Erin Montgomery’s workspace to be

 reconfigured. The Answering Defendants deny that the workspace previously occupied by

 Goehrig was less busy or noisy than Erin Montgomery’s workspace.

        31.     Except to admit that a new employee sits in the workspace once occupied by

 Goehrig, the Answering Defendants deny that Healy allowed a privacy wall to be built and lack

 sufficient knowledge or information regarding the volume of foot traffic directed toward Erin

 Montgomery’s desk.

        32.     Answering Defendants deny the allegations contained in Paragraph 32 of the

 Complaint.

        33.     Defendants Klim and Healy deny the allegations contained in Paragraph 33 of the

 Complaint as stated and state that on or about October 8, 2013 Erin Montgomery requested – via

 email to Klim and Healy – to be relocated to a different workspace and that the content of the

 email speaks for itself. Klim and Healy admit that Erin Montgomery was not relocated but deny

 the remaining allegations contained in the second sentence of paragraph 33.
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        34.     Defendant Healy denies the allegations contained in Paragraph 34 of the

 Complaint.

        35.     Except to state that she met with Plaintiff Erin Montgomery on January 31, 2014

 to discuss her performance, including budgets, and that Diane Carter was present for part of the

 meeting, Defendant Healy denies the allegations contained in paragraph 35 as stated.

        36.     Defendants Klim and Disbrow admit that Plaintiff’s initial request for five weeks

 of vacation time was denied and that Plaintiff commenced a leave of absence, but deny the

 remaining allegations contained in paragraph 36 of the Complaint. Except to admit that Erin

 Montgomery commenced a leave of absence, the remaining Answering Defendants lack

 knowledge or information sufficient to admit or deny the allegations contained in paragraph 36

 of the Complaint.

        37.     Answering Defendants admit that Healy is no longer employed by Rider

 University.

        38.     Answering Defendants lack knowledge or information sufficient to admit or deny

 the allegations contained in paragraph 38 of the Complaint and leave Plaintiffs to their proofs.

        39.     Defendants Stoto and Disbrow admit that they briefly discussed the grievance

 documents improperly submitted by Erin Montgomery with Defendants Rugg and McLaughlin

 but lack knowledge or information regarding what Plaintiff discovered or knew. The remaining

 Answering Defendants lack knowledge or information sufficient to admit or deny the allegations

 contained in paragraph 39 of the Complaint.

        40.     The letter referenced in paragraph 40 of the Complaint is a document, the content

 of which speaks for itself.
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         41.     The correspondence implicitly referenced in paragraph 41 of the Complaint

 (presumably referring back to the letter in paragraph 40) is a document, the content of which

 speaks for itself.

         42.     Answering Defendants lack knowledge or information sufficient to admit or deny

 how Plaintiff felt but deny that Stoto acted in a way that was intimidating or threatening.

 Answering Defendants admit that Plaintiff has not returned to work to date.

         43.     Answering Defendants deny the allegations contained in Paragraph 43 of the

 Complaint.

         44.     Answering Defendants deny the allegations contained in Paragraph 44 of the

 Complaint.

                                             COUNT I

         45.     Answering Defendants repeat their responses to the foregoing allegations of the

 Complaint as if set forth at length here.

         46.     Answering Defendants deny the allegations contained in Paragraph 46 of the

 Complaint.

         47.     Answering Defendants deny the allegations contained in Paragraph 47 of the

 Complaint.

         48.     Answering Defendants deny the allegations contained in Paragraph 48 of the

 Complaint.

                                             COUNT II

         49.     Answering Defendants repeat their responses to the foregoing allegations of the

 Complaint as if set forth at length here.
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        50.     Answering Defendants deny the allegations contained in Paragraph 50 of the

 Complaint.

        51.     Answering Defendants deny the allegations contained in Paragraph 51 of the

 Complaint.

                                             COUNT III

        52.     Answering Defendants repeat their responses to the foregoing allegations of the

 Complaint as if set forth at length here.

        53.     Answering Defendants deny the allegations contained in Paragraph 53 of the

 Complaint.

        54.     Answering Defendants deny the allegations contained in Paragraph 54 of the

 Complaint.

                                             COUNT IV

        55.     Answering Defendants repeat their responses to the foregoing allegations of the

 Complaint as if set forth at length here.

        56.     Answering Defendants deny the allegations contained in Paragraph 57 of the

 Complaint.

        57.     Answering Defendants deny the allegations contained in Paragraph 58 of the

 Complaint.



        WHEREFORE Answering Defendants demand entry of judgment in their favor and

 against Plaintiffs, dismissing with prejudice Plaintiffs’ Civil Action Complaint and awarding

 attorneys’ fees, interest, costs of suit, and such further relief as the Court deems just and proper

 in favor of Answering Defendants and against Plaintiffs.
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 Dated: May 7, 2015                 GIBBONS P.C.

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                                   AFFIRMATIVE DEFENSES

         Without admitting any facts alleged by Plaintiffs, the Answering Defendants plead the

 following separate and affirmative defenses:
         1.      Plaintiffs fail, in whole or in part, to state a claim or claims upon which relief may

 be granted, or upon which the relief sought can be awarded.

         2.      Plaintiffs’ claims are or may be barred, in whole or in part, by the applicable

 statute of limitations.

         3.      Plaintiffs’ claims and requested relief may be barred, in whole or in part, by

 application of the doctrines of unclean hands, laches, waiver, estoppel and/or setoff.

         4.      To the extent Plaintiff Erin Montgomery has sustained any physical or emotional

 injury or distress, damages for same are barred, either in whole or in part, by the exclusivity

 provision of the Workers’ Compensation Act.

         5.      Plaintiff Erin Montgomery’s claims are barred by Plaintiff’s failure to take

 advantage of available preventative or corrective opportunities provided by Rider University.

         6.      Plaintiff Erin Montgomery’s claims are barred by Plaintiff’s failure to exhaust

 available internal administrative remedies.

         7.      None of the actions of the Answering Defendants were motivated by Plaintiff’s

 alleged disability.

         8.      None of the actions of the Answering Defendants were motivated by retaliation.

         9.      No tangible employment action was taken affecting Plaintiff Erin Montgomery.

         10.     Plaintiff is not a qualified individual with a disability within the meaning of the

 law.

         11.     Plaintiff did not request a reasonable accommodation.
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         12.     The Answering Defendants’ actions with regard to Plaintiff were at all times

 motivated by legitimate, non-retaliatory, non-discriminatory business reasons.

         13.     None of the Answering Defendants violated any duty owed to Plaintiffs.

         14.     At all pertinent times, the Answering Defendants acted in good faith, in an

 appropriate, businesslike and commercially reasonable manner, and without malice or intent to

 injure Plaintiffs.

         15.     Any loss or damage allegedly sustained by Plaintiffs was occasioned by the acts

 or omissions of Plaintiffs.

         16.     Plaintiffs have suffered no cognizable damage or injury under the laws of the

 United States of America or State of New Jersey.

         17.     Plaintiffs are not entitled to compensatory or punitive damages.

         18.     The relief Plaintiffs seek is or may be barred by the after-acquired evidence

 doctrine.


         Answering Defendants reserve the right to assert additional affirmative defenses as they

 become known through ongoing investigation or discovery, and hereby reserve the right to

 amend their Answer and Affirmative Defenses to assert any such defense.

         WHEREFORE, Answering Defendants respectfully requests the Court deny Plaintiffs’

 First Amended Civil Action Complaint, enter judgment in favor of Answering Defendants,

 award Answering Defendants their fees and costs, and any further relief this Court deems just

 and proper.
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 DATED: May 7, 2015
